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                           EXHIBIT A
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             IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
MARIE MAYEROVA, and ARIANA
CHRETIEN, Individually and on           CIVIL ACTION NO.
behalf of all those similarly situated

         Plaintiffs,
v.                                                 DECLARATION
EASTERN MICHIGAN
UNIVERSITY, JAMES SMITH,
SCOTT WETHERBEE, and THE
BOARD OF REGENTS,

          Defendants.                                June 13, 2018


              DECLARATION OF MARIE MAYEROVA

 I, Marie Mayerova, declare as follows:

 1.    I am 21 years old and understand the obligations of an oath.

 2.    I am currently enrolled at Eastern Michigan University (“EMU”),

 majoring in Criminal Justice with a concentration in Law Enforcement.

 3.    I will be entering my senior year at EMU during the Fall 2018 semester.

 4.    I am a member of the women’s varsity tennis team at EMU and I have one

 more year of athletic eligibility.

 5.    I am a named plaintiff in this action. I make this affidavit in support of

 plaintiffs’ motion for a temporary restraining order and motion for

 preliminary injunction.

 6.    I am personally devastated by the prospect that women’s tennis is being


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 eliminated as a varsity sport at EMU.

 7.    My family lives in Czech Republic. I came to EMU on an athletic

 scholarship because my research had demonstrated it was a great school with

 a good tennis program and they had a program, ESL program, specifically

 for international students who speak English as their second language. This

 program allowed me to attend EMU despite my score on the English

 Proficiency Test commonly referred to as TOEFL (Test of English as a

 Foreign Language). I am able to take Intensive English classes at the

 University while also being eligible under the NCAA requirements to play

 Division I tennis.

 8.    Not many of the other universities I looked at had the same

 opportunities for me given my English proficiency test scores.

 9.    I have played tennis since I was a child. Because of my demonstrated

 athletic abilities in my home country I was recruited to attend EMU and play

 tennis for the University. I was also offered a full scholarship in the amount of

 $38,571.00 per year. Out of all the Universities I looked at I chose EMU in order

 to play Division I intercollegiate tennis.

 10.   During my three years playing tennis for EMU, I received several weekly

 conference honors.

 11.   After announcing in March that it would eliminate the women’s varsity


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 tennis program, EMU took away any opportunity for me to finish my collegiate

 career as an athlete.

 12.   In order to play tennis for another university I would have to go through a

 very intense process with regards to my immigration status and academic

 progress. If I were to attempt to transfer to another school, I would first need to

 return to Czech Republic and begin the process to obtain a new student visa for

 a new school. This would be after I had secured admission into the university

 and a spot on their tennis team. It would not be possible to accomplish this feat

 in the time between when EMU announced it was eliminating the varsity tennis

 program and the beginning of next school year. Therefore, I would have to put

 my college education on hold for next year while I waited out the student visa

 process. Additionally, even if I am able to secure a new student visa for a new

 university, I would lose some of the credits I have obtained from EMU’s ESL

 program. This would result in having to take an additional academic year, and

 from my research most school will not offer scholarship monies for a fifth year.

 This would mean that in order to obtain a degree, I would have to pay for a fifth

 year of college myself. Currently, I am on track to graduate with my bachelor’s

 degree in the next academic year.

 13.   After finishing my bachelor’s degree at EMU, I had intended to continue

 in schooling to earn a Master’s degree. While doing this I had planned to apply

 for the position of graduate assistant coach in the tennis program. However, this

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 is not possible any longer because the tennis program does not exist anymore.

 14.   I feel as if I have lost both one year of tennis and the chance to apply for

 future employment with the EMU tennis program. It will be much harder to

 apply for this type of job at other universities because I will have one-year less

 experience playing at the intercollegiate level and one year less of statistics and

 records to support job applications.

 15.   After graduating from EMU, I hope to use my degree to get a job in a

 correctional institute or prison. After graduation, I also intend to continue

 playing tennis in Czech Republic. I also want to teach club tennis and teach

 children how to play tennis because I want to share my love for tennis with

 others.

 16.   I enrolled at EMU with the expectation that I could get my degree,

 improve my English, and play the sport I love. I feel that my college experience

 has been taken from me because the program was taken from us players suddenly

 and without time to prepare a change in our college plans.

 17.   I am relying on the athletic scholarship for my last year of studies at EMU,

 I do not have the personal resources to post a bond in connection with this

 lawsuit.

       I declare under penalty of perjury that the foregoing is true and

 correct.


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       Dated: June 13, 2018




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                           EXHIBIT B
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                        EXHIBIT C




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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
MARIE MAYEROVA, and ARIANA
CHRETIEN, Individually and on              CIVIL ACTION NO.
behalf of all those similarly situated

          Plaintiffs,
v.                                                     DECLARATION
EASTERN MICHIGAN
UNIVERSITY, JAMES SMITH,
SCOTT WETHERBEE, and THE
BOARD OF REGENTS,

           Defendants.                                     June 14, 2018


                DECLARATION OF JILL M. ZWAGERMAN

  I, Jill M. Zwagerman, declare as follows:

  1.      I am above the age of eighteen years and understand the obligations of an

  oath.

  2.      I am counsel to the Plaintiffs in this matter.

  3.      On June 6, 2018, I sent to James Smith, President of Defendant

  Quinnipiac University, via email, a letter explaining that the University’s

  announced elimination of its women's varsity tennis and softball programs

  would violate Title IX and requesting a dialog about restoration of the

  program. The letter requested a response by June 13, 2018

  4.      On June 13, 2018, I telephoned EMU’s General Counsel Lauren

  London, who advised me that EMU would not be reinstating the women’s

  tennis and softball programs.


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  5.    I told Attorney London that we would then be filing the

  Complaint and the TRO because the goal for my clients was to

  reinstate the programs.

  6.    I have e-mailed to Attorney London copies of the Complaint,

  Motion for Temporary Restraining Order and Preliminary Injunction,

  Memorandum of Law, Proposed Temporary Restraining Order,

  Proposed Preliminary Injunction, Declarations of Marie Mayerova and

  Ariana Chretien and this Declaration on June 14, 2018, prior to filing

  them with the Court.



  I declare under penalty of perjury that the foregoing is true and correct.

        Dated: June 14, 2018




                                           Jill M. Zwagerman, Attorney




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